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UNITED STATES DISTRICT COURT Bv%’____ D_c_

Western District of TennesseW

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UNITED STATES OF AMERICA

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Pla nt]_ff, n USBSTR"’CTM

VS. Case Number 2:W @DHHGUY-D

LARRY JoE TRUELOVE 0 /-¢QJD 59 5/
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After Novamber 1, 1987)

The defendant, Larry Joe Truelove, was represented by Michael Edwin Scholl, Esq.

It appearing that the defendant, who was convicted on January 3, 2002, in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of Fifteen (15) months.

Furthermore, no additional supervised release shall be imposed.
The defendant is remanded to the custody of the United States Marshal.

Signed this the Z'X day of July, 2005.

B ICE B. DONALD
U'NITED STATES DISTRICT JUDGE

This document entered on the docket sheet ln

§gganance
Defendant-s SS No.: XXX-XX-XXXX W“hRMeGZamUOrBZw}FRCHDOn 5,[~0

ngendant's Date of Birth: 03/03/1981
U.S. Marshal No.: 17773-076
ngendant's Mailinq Address: 1385 Quail Brook #l, M§mphis. TN 38134

 

 

 

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This notice confirms a copy of the document docketed as number 401 in
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Michael EdWin Scholl

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

